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(full name/prisoner number)

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Boise Aw 44107

(complete mailing address)

 

 

 

 

 

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

Niicent pam El Gato \2 ,

(full name) Case No.
Plaintiff, (to be assigned by Court)
We
PRISONER COMPLAINT

LOARAG STATE CORRE CION CENTER
oa Ass CARS Se

Jury Trial Requested: OX Yes QO No

 

GEACECS AWARD DEMACTI NEM CE Cok ecient
STATE OF Lorri,

Defendant(s).

(if you need additional space, use a blank page
for a continuation page)

 

 

A. JURISDICTION

The United States District Court for the District of Idaho has jurisdiction over my claims under:
(check all that apply):
[4 42 U.S.C. § 1983 (applies to state, county, or city defendants)
Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388
(1971) and 28 U.S.C. § 1331 (applies to federal government defendants only)

Other federal statute (specify) ; or diversity of citizenship.
I also ask the federal court to exercise supplemental jurisdiction over state
law claims.
B. PLAINTIFF
My name is NiwWcentt GAaARAA . lama citizen of the State of \bAG ;

 

 

presently residing at |

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C. DEFENDANT(S) AND CAUSE(S) OF ACTION

(Copy and use a separate page for each defendant and each different type of claim; Jor example, if you have two different
claims against one defendant, you will use two pages. Attach a continuation page if needed, but try to be brief.)

1. Tam suing 1O¢ |ASCC- Deron 0 FECAL » who was acting as GATE OFECANS |Cutpecmon EMOLOYEes
(defendant) (job title, if a person; function, if an entity)

for the (RoC, \WWAWO STATE CORZECION CENTEX.

(state, county, city, federal government, or private entity performing a public function)

~2. (Factual Basis of Claim) | am complaining that on Wart (ohA TGA , Defendant did
(dates)
the following (state how Defendant participated in the violation and include the reason Defendant so acted if known):
{ CYWAKED THE ACT OF WEGLEAC ILE Aa) DENQOLATE Unip ICFEVWENCE DoewG L300"
+ SEANET CHAE 1 OAS DuANONG A Close Coe TOO MAKI MUM TIE? Gal Ol PAM Dood
Roo) Walcot) (UA enloCke D OUT Buy A SVG GAvig MEMOS ATTACKED WHINE

 
 
 
 

          

 

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1 PRE, 2S | : g CRE WERE

G4 GAVEOS Ont May Unit ADD WERE VEGCIENT Dib POT Cone IN Yo SAVE Ain PAGTEA

ME Ti SG ye Tie \ é (TED 4 Who WATCHED

A) ii VESTION de tow lone WAS ASBUITED Awd tous lane rr too GAUaS TO Comet

AWD AND PROTEC ME. CAUSING STRIOUS IA jury

3, (Legal Basis of Claim) | allege that the acts described above violated the following provisions of the

Constitution, federal statutes, or state laws:

YPPAMENDMENT, DENIRERATE INQ ECE CENTE, titeteeraee, CA WR TO PRSTECT,

NEGHocnce.

     
 

   
  

  
  

   
 

4. [allege that I suffered the following injury or damages as a result:

OF \Doc LwAWo STATE CoRRECHOm! Cente Deine, NEGIEGEM Dieu moeceenlt
Wate) uP RAZEOING B@AWN BaSKEN Opal Wie UEL cine Wao ken Crter Boye Leer
Sudk Boers aus 2 DIALS FauahQeiiwt och ZAWnce OFF, CEASUZES DUNDES BOTA
EYES SW RATACH oD LP DHA Muge

5. I seek the following relief; WWUNEN DAMAGES MEDICAL tee

 

6. Iam suing Defendant in his/her [Afersonal capacity (money damages from Defendant personally), and/or
[ official capacity (seeking an order for Defendant to act or stop acting in a certain way; or money damages from an
entity because of Defendant's acts, as allowed by law); OF [| Defendant is an entity (government or private business).

7, For this claim, I exhausted the grievance system within the jail or prison in which I am incarcerated.

WYes O No. If “Yes,” briefly explain the steps taken to exhaust; if “No,” briefly explain why full
jail or prison grievance remedies were not exhausted.

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CDEENDANIS-AND CAUSE ACHLON QQd.

\. ~ DEFENDANTS WAQOEN ate EUSTENSON Stay ADAM MIWA
G-VAGCK CORRECTION 0) FEVERS. IMAI BO SWAACT

 

 

 

2. “DURIWETH AS ASSAY ty ATTACKER ASS SUE) So AO\EIST {1 Hat
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UP-LEST WANKER) AWAY |ARGUND CAME BACK ASSUVTED jue
ude Lett INMATES 0lny wt To ROW Me _GVEIR BECAUSE. ¢
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LEAVE AGAIN Ga UP STAIBS TO SHOWER WAS UWCONS GUS

THIS WS TESTA MOY OF GAURDS ANO INMATES. (HAVE
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i. ROSES
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Pg,
ISCC Legal Resource Center - Indigent Paper
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D. PREVIOUS OR PENDING LAWSUITS

] have pursued or am now pursuing the following other lawsuits: (include (1) all lawsuits in state or federal
court related to the subject matter of this action, and (2) any federal court civil rights lawsuits, related or unrelated, and

note whether you have received a strike under 28 U.S.C. § 1915(g) for filing a complaint that is frivolous, malicious, or fails
to state a claim upon which relief can be granted.)

Court Case No. Case Name Status of Case Strike?

 

 

 

E. REQUEST FOR APPOINTMENT OF ATTORNEY

Ido@ donot © _ request that an attorney be appointed to represent me in this matter. I believe that
1 am in need of an attorney for these particular reasons which make it difficult for me to pursue this
matter without an attorney:

RECAUSE LAY) I CAGLEQANENY er SCC.) HAVE bio income Feary CAA O2 EMQIOWHENT

(CAN) BARS Functical ERart iy ASSLT Wend CURRENT SEVEN VAROICAL S50
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F,. DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury:

that I am the plaintiff in this action, that I have read the complaint, and that the information contained in
the complaint is true and correct. 28 U.S.C. § 1746; 18 U.S.C. § 1621; and

that I deposited this complaint postage prepaid in a United States postal depository unit on
{-t* Lot) (dare); OR that I gave the complaint to prison officials for mailing and filing with the
Clerk of Court under the indigent inmate policy on 1-2-2020 (date); OR (specify other method)

Executed at VXtC-DRIGON on \L Lo Cy

(Location)
QL Original Signature \

Note. Fillin the page numbers. Keep one copy of the complaint for yourself (or you may send a copy to the Clerk
of Court with your original complaint so that the Clerk can stamp the date and case number on the copy and return it to
you), but do not send extra copies of the complaint to the Court for Defendants or otherwise. Do not attach original exhibits
to your complaint, such as your only grievance copy. Do not attach more than 25 pages of exhibits. If you have more
exhibits, wait until the Court determines you can proceed and then seek leave to file them for an appropriate purpose. After
your complaint has been filed, it must be reviewed by a federal judge to determine whether you can proceed.

 

 

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